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9                             UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11   QC LABS, a California corporation         Case No. 8:18-cv-001451-JVS-JDE
     dba CANNALYSIS,
12
                                               ORDER TO DISMISS ACTION
                 Plaintiff,
13                                             WITH PREJUDICE
           v.
14                                             Courtroom: 10C
     GREEN LEAF LAB LLC, an Oregon             The Honorable James V. Selna
15   limited liability company,
                                               Ronald Reagan Federal Building
16               Defendant.                    and United States Courthouse
                                               411 West Fourth Street
17                                             Santa Ana, CA 92701
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                                                                Case No. 8:18-cv-001451-JVS-JDE
                                                 ORDER TO DISMISS ACTION WITH PREJUDICE
Case 8:18-cv-01451-JVS-JDE Document 93 Filed 06/18/20 Page 2 of 2 Page ID #:1187



1                                               ORDER
2          Based upon Plaintiff’s Request For Dismissal, it is hereby ORDERED that
3    this action is dismissed with prejudice in its entirety. Each party shall bear its own
4    attorneys’ fees and costs. The Court shall retain jurisdiction to enforce the terms and
5    conditions of the settlement agreement.
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7          IT IS SO ORDERED.
8
9
     Dated: June 18, 2020                                 ______________________
10
                                                          Honorable James V. Selna
11                                                        United Stated District Judge
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                                                                      Case No. 8:18-cv-001451-JVS-JDE
                                           [PROPOSED] ORDER TO DISMISS ACTION WITH PREJUDICE
